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Michelle Magee CLERK US DISTRICT C
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Emmett, Michigan 48022 FILEO

THE DISTRICT COURT OF THE UNITED STAT#SFEB 24 AM 10: 09
IN AND FOR THE DISTRICT OF TEXAS : ,

DEPUTY CLERK

RANCE MAGEE & MICHELLE MAGEE, ET AL.,
Case No.: 5:19-mec-017-H

Petitioner(s)
v. REQUEST FOR CLARIFICATION &
MR. COOPER, ET AL., CHALLENGE TO JURISDICTION
Respondent(s)

COMES NOW, the Petitioner(s) Rance Magee and Michelle Magee before this honorable
court to petition for clarification referencing the court ORDER dated on or about September 09,
2019 and the Order dated December 12, 2019.

L. BACKGROUND

1. On November 22, 2019 Petitioner(s) filed a Motion to Confirm Arbitration Award in
accordance with the terms and conditions of the contractual agreement between the parties and
under the jurisdiction of the Federal Arbitration Act (Hereinafter “FAA”).

2. Itis noted that the Respondent(s) filed an opposition yet they failed to note that they
intentionally did not participate in the arbitration hearing. Also, Respondent(s) did not file a
Motion to Vacate within the specified time frame of ninety (90) days of receipt of the award as

required by 9 U.S.C. § 9.)

 

'OULS.C. § 9. “Ifthe parties in their agreement have agreed that a judgment of the court shall be entered upon the
award made pursuant to the arbitration, and shall specify the court, then at any time within one year after the award.
is made any party to the arbitration may apply to the court so specified for an order confirming the award, and
thereupon the court must grant such an order unless the award is vacated, modified, or corrected as prescribed in
sections 10 and 11 of this title. [fno court is specified in the agreement of the parties, then such application may be
made to the United States court in and for the district within which such award was made. Notice of the application
shall be served upon the adverse party, and thereupon the court shall have jurisdiction of such party as though he had
appeared generally in the proceeding. If the adverse party is a resident of the district within which the award was

Page | of 11

 
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 2 of 12 Marge! Ro20

Rance Magee

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Emmett, Michigan 48022

3. The Court erred when it accepted the opposition motion from Respondent(s). The FAA
requires that a burden of proof be exhibited by the Respondent(s):

“The party (not the court, as the court is not a party with respects the instant issue

challenging enforcement of the arbitration award has the burden of proof.””

4, The Respondent(s) have recognized receipt of all documentation along with their duty to
respond and such a duty, when specific; equates to assent if there is no timely
objection/rejection. “Under general principles of contract (law) a bargained-for-exchange exists
if one party’s promise includes the other party’s promise or performance... finding that a valid
arbitration (agreement) clause included in an agreement (performance contract) mailed with each
(contract-conditional acceptance) sent Respondent(s)... A party cannot avoid the terms of a
contract by failing to read them.”?

5. In fact, under the law and equity provision of 9 U.S.C. § 1 “receipt of physical (contract)
document {2015 U.S. Dist. Lexis 16} containing contract terms or notice thereof is frequently
deemed in the world of paper transactions, a sufficient circumstance to place the offeree on
inquiry notice of those terms.’” Murphy v. Direct T.V. Inc., No. 2:07-cv-06465-JHN, 2011 U.S.
Dist. Lexis 87225, 2011 WL 3319574 at *2 (C.D, Cal, Aug. 2011); “agreeing that competent
adults are bound by [consumer agreements], read or unread” aff.’a, 724, F.3d 1218, 1225 n.4 (gt

Cir. 2013). Petitioner(s) further notes that it has long been held that:

 

made, such service shall be made upon the adverse party or his attorney as prescribed by law for service of notice of
motion in an action in the same court. If the adverse party shall be a nonresident, then the notice of the application
shall be served by the marshal of any district within which the adverse party may be found in like manner as other
process of the court.”

2 275 Fin, Serv’s., LLC., v. Manchester Fin. Bank, 747 F.3d 331, 336 (5" Cir. 2014).

3 Hartbarger, 200 Til App. 3d 1000, 558 N.E. 2d 596, 604, 146 ill Dec. 633 (Til App. 1990); see also: Restatement
(Second) of Contracts § 71 (see comment b at 173); Bischoff, 180 F.Supp.2d 1097, 1103-1105 (C.D. Ca, 2002);
Knutson, 771 F.3d at 567; Specht, 306 F.3d 17, 31 (2"4 Cir. 2002).

Page 2 of 11

 
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 3o0f12_. PagelD 92
Rance Magee MAGEE-02 152020

Michelle Magee
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Emmett, Michigan 48022

6. “Arbitrator’s derive their authority to resolve disputes only because the party’s agreed in
advance to submit such grievances to arbitration (AT&T Comm., 475 US 643, 648-649 (1996)...

Because the (plaintiff's offer) clearly provides a mechanism for rejecting (plaintiff's) offer. Thus

 

(Respondent’s) had a reasonable opportunity to reject (plaintiff's) offer... (By the Respondent’s

defaulting in their duty of obligation to respond, or to reject within timely manner, amounts to

 

performance, act(s), assent to term’s of the agreement)... the Respondent’s conduct amounts to
assent.’” Hill, 105 F.3d. 1147-1149 (7" Cir. 1997).

7. The court noted that “Hill” admitted to receiving the form contract, but failed to read it...
“Where a letter is properly addressed and mailed (as is the case at present) there is a
presumption that it reached its destination in usual time and was actually received by the
person to whom it was addressed.’” Hagner, 286 US 427, 430, 76 L. Ed. 861, 52 S, Ct. 417
(1932).

8. The Court erred when it failed to rebut the presumption that notification was mailed and
did not place the burden upon the opposing party to prove non-receipt, which would require a

hearing supported by proof of non-receipt; note:

 

“The court must presume a letter properly addressed was received (Godfrey, 997 F.2d 335, |
338 (7" Cir. 1993). ‘We (meaning “the courts”) have held that “take it-or-leave it” offer’s

are agreements (contracts to perform, act or not act constituting assent) for he purpose of the
arbitration act.’’”4

IL. APPLICATION OF THE ACT

9. The Federal Arbitration Act (Hereinafter “FAA”) 9 U.S.C, § 1-16; 201-216; and 301-

 

 

4 Koveleskie, 167 F.3d 361, 367 (7" Cir. 1999); Hill, 105 F.3d 1147-1149 (1997).

Page 3 of 11
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 4of12_ PagelD 93
Rance Magee MAGEE-02 152020

Michelle Magee
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Emmett, Michigan 48022

316; sets out the legislative intent and framework for the enforcement of arbitration agreements
and arbitration awards in the United States.°

10. Passed by the United States Congress in 1925°, the FAA was intended to ensure
agreements to arbitrate that involved commercial activity were valid, irrevocable and
enforceable; saved upon such grounds as exist at law or in equity for the revocation of contracts.’

11. In 1984 the Supreme Court made clear that it was Congress’ intention by creating and
enacting the FAA that of overcoming the continuing judicial hostility toward arbitration.® Since
that time, the Supreme Court, by its multiple decisions; implemented a ‘national policy favoring
arbitration.’”? The FAA requires courts to strictly enforce arbitration agreements.

12. The Supreme Court continues to hold ‘that courts may only consider a party’s specific
challenge that the agreement was procured by fraud, any general challenge was to be decided by
the arbitrator.” See: Prima, 388 US at 395 (1967).

_ a. This is known as the ‘Severability Doctrine,’ separately the arbitration clause from the
entire contract when a challenge is alleged concerning fraud claim. | Thus, greatly
curtailing the courts involvement in deciding contract challenges such as fraud and duress
where a contract contains an agreement to arbitrate ([d. At 402-03).

13. If two parties agree in writing to the arbitration of contract - related disputes, that

 

5 ‘The Arbitration Act creates a body of Federal Substantive Law... applicable to state and federal court’ —
Southland Corp. v. Keating, 465 US 1, 14 (1984). See also: Southland, 465 US at 10, Prima Paint Corp. v. Food &
Conklin Mfe, Co., 388 US 395 (1967).

® Ibid.

79ULS.C. § 1, 2; Commerce Clause; ‘In enacting [The FAA], Congress declared a ‘national policy’ favoring
arbitration and withdrew the power of the courts to call or require a judicial forum for the resolution of claims which
contracting parties agreed to resolve by arbitration.

8 Arbitration is an Alternative Dispute Resolution (ADR) process, governed by Administrative Law as prescribed &
codified in the FAA, 9 U.S.C. § 1-16, 201-216- 301-316. The courts are limited in their ability to interfere with the
parties right to contract and to utilize an arbitrator rather than a court to resolve their disputes. See Rent-A-Center,
West, 561 U.S, at 63, 68-70 and First Option, 514 U.S. at 938, 940-944,

* Ibid.

Page 4 of 11
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page5of12 PagelD 94
Rance Magee MAGEE-02 152020

Michelle Magee
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agreement is always severable form the rest of the contract and is ‘the only part of the agreement
that a court may consider’ Buckeye Check Cashing, Inc. v. Cardegna, 546 US 440-446 (2006).
Also, “It is true, as Respondents assert, that Prima Paint Rule permits a court to enforce an
arbitration agreement in a contract that an arbitrator later finds void...regardless of whether the
challenge is brought in federal or state court, a challenge to the validity of the contract as a whole
and not specifically to the arbitration clause, must go to the arbitrator.’

14. In Rent-A-Center, West v. Jackson (2010), the United States Supreme Court continued to
uphold the arbitrator’s power to resolve contract challenges raised by parties seeking judicial
review of such challenges, stating that ‘the arbitrator rather than the court would decide all
questions of arbitrability, including any gateway challenge’s to the validity of arbitration clause
is the agreement itself.'°

15, Waivers contained in the arbitration clause such as a party waiving any right to challenge
once in default and/or agreeing to the terms of the agreement based upon conduct was not
‘unconscionable,’ holding that individualized proceedings are inherent and necessary elements of
arbitration and do not permit blanket rules banning such provisions and/or waivers.'!

16. The Supreme Court held that unconscionability laws in this context were invalid, this
despite the fact that unconscionability is a ground that exists at law or in equity for the

revocation of contracts.!*

17, The court held that ‘we are well past the time for judicial suspicion of the desirability of

 

0 Rent-A-Center, West v. Jackson, 130 8. Ct. 2772, 2779 (2010).
"! AT&T Mobility LLC., v. Concepcion, 131 8. Ct. 1740, 1750-52 (2011).
'2 Thid.

Page 5 of 11

 

 
Ransedages 12 NO O001 7-H Document 7 Filed 02/24/20 Page 6 of 12 agg!2,92

152020
Michelle Magee
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Emmett, Michigan 48022

arbitration and of the competence of arbitration tribunals inhibited the development of arbitration
as an alternative means of dispute resolution.'°

18. The Supreme Court has reinforced the F.A.A.’s ‘liberal policy favoring arbitration,’ when
considering a court’s limited powers to vacate an arbitration award."

19, The court has allowed and/or permitted a party claiming that they were not a party to a
contract to ailege grounds challenging the arbitration tribunal. The arbitration clause and
contract is between the parties. If the parties have agreed to arbitration and that party is
dissatisfied with an adverse judgment, the F.A.A. holds that agreement and award to be
irrevocable.

20. In 2008, the Supreme Court confirmed the four (4) very limited grounds listed in the
F.A.A, for vacating an arbitral award and therefore subject to vacatur under the F.A.A.:

Fraud by opposing party in securing the award and fraud must have all elements proved
by the party raising the claim (9 U.S.C. § 10 (a);

The tribunal’s corruption or evident partiality to one of the parties, where the contract has
the party’s agreeing to arbitrator, proof of actual corruption and/or partiality must be
readily present by factual evidence, a hearing and opportunity to confront such evidence,

present witnesses, etc., (9 U.S.C. § 10 (a)(2));

 

13 Hall St. Assoc,, LLC y, Mattel, 552 US 576, 588 (2008). ‘Noting that ‘the national policy favoring arbitration,’
requires just the limited review needed to maintain arbitrations essential value of resolving disputes straightaway.’
4 Thid,

59 U.S.C. 13. “The party moving for an order confirming, modifying, or correcting an award shall, at the time
such order is filed with the clerk for the entry of judgment thereon, also file the following papers with the clerk:

{a) The agreement; the selection or appointment, if any, of an additional arbitrator or umpire; and each written
extension of the time, if any, within which to make the award. (b) The award. (c) Each notice, affidavit, or other
paper used upon an application to confirm, modify, or correct the award, and a copy of each order of the court upon
such an application. ‘The judgment shall be docketed as if it was rendered in an action.

The judgment so entered shall have the same force and effect, in all respects, as, and be subject to all the provisions
of law relating to, a judgment in an action; and it may be enforced as if it had been rendered in an action in the court
in which it is entered.”

Page 6 of 11
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 7 of 12 Maageld, 28
Rance Magee

E-02152020
Michelle Magee
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Misconduct by the tribunal in granting and/or issuing the award. This also shifts the
burden of proof on the party bringing forth the claim (9 U.S.C. § 10 (a)(4)); that the
arbitrator exceeded its powers, acted outside the scope of the authority delegated in the
arbitration agreement.

21. Elements of Arbitration

A contract must exist, whereby the:

Parties are competent;

Parties agree and agreement is doable and fair;
That the agreement is workable;

That the parties performed a provision...; and
That there is an expiration date.

22, Unilateral contracts such as “Point & Click,” “Click & Slide,” whereby parties consent to
the agreement by performance, after having knowledge of the agreement are cognizable under
contract law. Note: “The United States has adopted the Restatement (SECOND) of Contracts in
the construction and interpretation of contracts and agreements with the United States.
Stipulations are contractual in nature and subject to federal common law.”

23. If the contract contains an arbitration clause, then the governing law is the F.A.A, where
commerce is an element (9 U.S,.C. § 1, 2).

24, If the arbitrator is named in the agreement the parties are bound by the agreement
unless a party can prove one of the exceptions listed in the F.A.A. (9 U.S.C. § 10, 11).

25, Any question as to arbitration, arbitration clause, the contract as a whole is delegated by
the parties in the agreement, must be settled by the arbitral process as agreed by the parties to the
agreement.

Page 7 of 11

 

 
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-02152020
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26, The parties once notified by the arbitrator of the arbitration hearing, may waive
appearance, however; the parties are bound contractually to the decision of the arbitrator.

27. If an award is issued, the parties have ninety (90) days to contest such an award as
prescribed by the F.A.A. (9 U.S.C. § 7, 9). Should the parties allow and/or permit the ninety (90)
days to elapse they are then time-barred from any future challenges, the Plaintiffs and the court is
time barred and the opinion of the court violates the F.A.A. Time-barred is time-barred, which
was not waived.

28. If the right to challenge arbitration award is waived (by the agreement) and a party later
breaches the provision they may be subject to a subsequent arbitration hearing and a secondary
award issued concerning additional breach.

29. Accordingly, 9 U.S.C. § 9 permits the parties to apply to the court (named in agreement)
to confirm the award, at which time “the court must confirm the award.”

30. The courts have continuously upheld that “Click & Slide,” and “Point & Click” contracts
are valid, whereby a party was notified and failed to disaffirm. This too would be a matter of
contract subject to arbitration, if a prior agreement exists and acceptance is conditional.

31. The American Arbitration Association, the F.O.R.U.M. and J.A.M. each utilized by the
courts and major corporations often decide on unilateral contracts, whereby the parties were duly
notified (in this instance the arbitration association mails a copy of the contract, application for
arbitration, proof of service, to eliminate any party’s due process right being violated. No other
arbitration association provides such notice. The defaulting party has ten (10) calendar days to
disaffirm, if they can definitively prove that they were never served or not notified of the initial
contract which is binding. See: “Frontier” decision.

32. Therefore, the following questions arise (to be construed as federal questions):

Page 8 of 11

 

 
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 9 of 12 vargel. 98

Rance Magee

EB-02 152020

Michelle Magee
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Emmett, Michigan 48022

a.

Is this court stating that the contract does not contain an arbitration clause and commerce
clause granting ‘exclusive jurisdiction, under the F.A.A?

Is this court stating that the parties did not, as a matter of contract; agree with the
selection of the arbitrator?

Is this court stating that the opposing party has supplied proof, verified and sworn by the
affidavit; facts of law that exhibit any possibility of fraud?

Is this court stating that the opposing party had no knowledge of contract and/or
arbitration agreement prior to the hearing and/or issuance of the arbitration award?

Is this court stating that the opposing party asked for an extension respecting the hearing
date for arbitration and was denied?

Is this court stating that after the opposing party was notified of the hearing and failed to
appear, that they may later challenge, although they waived such a due process right; as

permitted in law and equity?

33. The court may not aid a wrong doer. The opposing party failed to participate in the

arbitration process, after receipt of proper notification. The contract was delivered on at least

two (2) occasions, is a matter of record, no specific challenge was made and thus the court is

without jurisdiction to entertain challenge as the proper jurisdiction is prescribed by contract and

the F.A.A,

34. The court is without jurisdiction to hear any challenge to the contract or the award due to

the opposing party’s waivers and is time barred.

35. The court may only act within the jurisdiction mapped out for it in law, the F.A.A. is the

Page 9 of 11

 

 
Case 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 10o0f12 Pa maage ? 99
Rance Magee 02152020

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law. The jurisdiction of the court may be challenged at any time. I do hereby challenge the
court’s jurisdiction and petition that the court answer these lawful questions so as to help clear up
the existing confusion.

36. The aforementioned is presented in line with the Federal Arbitration Act and the contract
between the parties. The arbitrator held, as ordained by the agreement’s arbitration clause; that
the contract is “valid,” “binding,” and “irrevocable” (9 U.S.C. § 1, 2).

This Affidavit is truthful, verified and based on firsthand information, affirmed and attested as

such on this 17th day of February 2020; so help me God.

 

Page 10 of 11

 
Se. 5:19-mc-00017-H Document 7 Filed 02/24/20 Page 11 of 12 Fragelb 100
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ALL PURPOSE PROOF OF SERVICE

I, Rance Magee; being at or above the age of 18, of the majority and a citizen of the

United States of America, did mail the following document: Request for Clarification
By placing it in an envelope addressed to:

United States District Court

Northern District of Texas

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the age of the majority, and not a party to this action who upon receipt guarantees delivery as
addressed and/or local drop box guaranteeing the same as prescribed in law. If called upon I
provide this sworn testimony based on first-hand knowledge of the aforementioned events
attesting and ascribing to these facts on this day February 17, 2020.

/s/ Rance Magee

Page 11 of 11

 
 

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